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                               IN THE UNITED STATES DISTRICT COURT
                               FOR THE NORTHERN DISTRICT OF TEXAS
                                         DALLAS DIVISION

BERTRUM JEAN, individually and as the                            §
surviving father of Bothan Shem Jean,                            §
ALLISON A. JEAN, individually and as the                         §
surviving mother of Botham Shem Jean,                            §
and ALLISON E. FINDLEY as the                                    §
Administrator of the Estate of Botham                            §
Shem Jean,                                                       §
              Plaintiffs,                                        §
                                                                 §
v.                                                               § Civil Action No. 3:18-CV-2862-M
                                                                 §
THE CITY OF DALLAS, TEXAS, and                                   §
AMBER GUYGER,                                                    §
          Defendants.                                            § Referred to U.S. Magistrate Judge

                                                            ORDER

          By Standing Order of Reference... filed January 17, 2019, this case was referred for full case

management. Before the Court is Defendant Amber Guyger’s Motion to Stay this Action Pending

Resolution of her Criminal Case, and Brief in Support, filed March 22, 2019 (doc. 24).

          The plaintiffs may file a response and brief containing citations to relevant authorities1 no later

than Friday, April 12, 2019. The defendant may file a reply no later than Friday, April 26, 2019.

          At this time, no hearing will be scheduled on this matter.

          SO ORDERED on this 25th day of March, 2019.



                                                                        ___________________________________
                                                                        IRMA CARRILLO RAMIREZ
                                                                        UNITED STATES MAGISTRATE JUDGE




          1
           Local Rule 7.1 of the Local Civil Rules for the Northern District of Texas requires the filing of briefs in support of
most motions. Pursuant to subsection (d), briefs shall contain a “party’s contentions of fact and/or law, and arguments and
authorities.” (emphasis added). Briefs containing authorities greatly assist the Court in making rulings more expeditiously.
